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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                      Case No. 20-25318-CIV-BLOOM/OTAZO-REYES

 BLUEGREEN VACATIONS UNLIMITED, INC.,
 a Florida corporation; and
 BLUEGREEN VACATIONS CORPORATION,
 a Florida corporation,

        Plaintiffs,

 v.

 MICHAEL A. MOLFETTA, an individual; and
 MOLFETTA LAW, LLC,
 a California limited liability company, et al.,

       Defendants.
 _________________________________________/

                                             ORDER

        THIS CAUSE came before the Court upon Plaintiffs Bluegreen Vacations Unlimited, Inc.

 and Bluegreen Vacations Corporation’s (together, “Plaintiffs”) Notice of Telephonic Discovery

 Hearing [D.E. 70]. This matter was referred to the undersigned pursuant to 28 U.S.C. § 636 by

 the Honorable Beth Bloom, United States District Judge [D.E. 32]. The undersigned held a

 telephonic hearing on this matter on April 27, 2021 (hereafter, “Hearing”). In accordance

 with the undersigned’s rulings at the Hearing, it is

         ORDERED AND ADJUDGED that by May 11, 2021, Defendants Michael A.

 Molfetta and Molfetta Law, LLC shall:

            1. Serve amended responses to Plaintiffs’ written discovery requests, without

                 objections other than privilege and with proper certifications; and

            2. Produce all documents that are responsive to Plaintiffs’ discovery requests, after

                 bates-stamping all such documents and organizing them to correspond with the
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              discovery requests.

       DONE AND ORDERED in Chambers at Miami, Florida, this 27th day of April, 2021.



                                          __________________________________
                                          ALICIA M. OTAZO-REYES
                                          UNITED STATES MAGISTRATE JUDGE

 cc:   United States District Judge Beth Bloom
       Counsel of Record




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